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 1
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 6

 7   Attorneys for Plaintiff Luminence, LLC,
 8

 9                          UNITED STATES DISTRICT COURT
10
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11

12
     LUMINENCE, LLC,
13
                                                     CASE NUMBER: 3:19-cv-00157-JAH-MDD
                          Plaintiff,
14
            vs.                                      DECLARATION OF MATTHEW
15
     ULTRAMAILERS, INC.; CM                          CAPRON IN SUPPORT OF MOTION
16
     ENTERPRISES, INC.; THEOD                        FOR FINAL JUDGMENT
17   SIMONIAN, an individual;
18
     and HAIK ABDUNURYAN, an
     individual,
19

20                        Defendants.
21
       DECLARATION IN SUPPORT OF MOTION FOR FINAL JUDGMENT, RE:
22
                                ATTORNEYS FEES AND COSTS
23
           Matthew Capron hereby declares as follows:
24
           1. I am the attorney for Plaintiff in this action.
25
           2. This action was commenced pursuant to 17 U.S.C. §§ 106(1), 501, and 1202,
26
     and 815 I.L.C.S. § 510 et seq.
27
           3. The court entered a Clerk’s Entry of Default on April 19, 2019.
28



                                                     1

                                       DECLARATION OF MATTHEW CAPRON
     Case 3:19-cv-00157-JAH-MDD Document 7-2 Filed 05/13/19 PageID.50 Page 2 of 3



 1

 2
           4. I am an attorney with 4 years experience. I charge $300 per hour, which falls
 3
     within the range of rates charged in San Diego County for attorneys with comparable
 4
     experience in similar practice areas.
 5
           5. Plaintiff has incurred the following attorneys fees and costs:
 6
           Attorneys Fees:                   Hours        Rate         Total
 7
           Consultation and evaluation       0.5          $300         $ 150.00
 8
           Complaint                         4.0          $300         $1,200.00
 9
           Research/Review                   3.5          $300         $1,050.00
10
           Default Motion                    4.0          $300         $1,200.00
11
           Communications/meetings           2.0          $300         $ 600.00
12
           Costs:
13
           Filing fee                                                  $ 400.00
14
           Process server                                              $ 265.00
15
           TOTAL                                                       $4,865.00
16
           I declare under penalty of perjury that the foregoing is true and accurate to the
17
     best of my knowledge, information and belief, that the amount claimed is justly due and
18
     reasonable.
19

20   Dated: May 13, 2019                             Respectfully submitted,
                                                     CAPRON LAW OFFICES
21

22                                                   By: s/Matthew Capron
23
                                                     MATTHEW CAPRON

24                                                   Attorneys for Luminence, LLC
25                                                   email: mattcapron@yahoo.com
26

27

28



                                                   2

                                   DECLARATION OF MATTHEW CAPRON
     Case 3:19-cv-00157-JAH-MDD Document 7-2 Filed 05/13/19 PageID.51 Page 3 of 3



 1
                                CERTIFICATE OF SERVICE
 2
            I am a resident of the State of California, over the age of eighteen years, and
 3   not a party to the within action. My business address is CAPRON LAW OFFICES,
     2220 Otay Lakes Rd Suite 502-92, Chula Vista, California 91915. On May 13, 2019, I
 4
     served the foregoing document. 
 5

 6        USPS MAIL TO:         Ultramailers, Inc
 7
                                 17647 Prairie St
                                 Northridge, CA 91325
 8
                                 CM Enterprises, Inc
 9                               17647 Prairie St
10                               Northridge, CA 91325
11                               Theod Simonian
                                 17647 Prairie St
12
                                 Northridge, CA 91325
13
                                 Haik Abdunuryan
14                               17647 Prairie St
15
                                 Northridge, CA 91325

16
           (Federal) I declare under penalty of perjury under the laws of the State of
17         California that the foregoing is true and correct.
18
     Executed on May 13, 2019, at Chula Vista, California.
19

20                                                      s/Matthew H. Capron
                                                        Matthew H. Capron
21

22

23

24

25

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                                                3

                                  DECLARATION OF MATTHEW CAPRON
